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 8   Washington, D.C.
 9   Attorneys for the United States
10

11
                                  UNITED STATES DISTRICT COURT

12
                                   FOR THE DISTRICT OF ARIZONA

13

14    Manuel de Jesus Ortega Melendres, on
      behalf of himself and all others similarly                Civil Case No.: 2:07-cv-2513-PHX-GMS
15
      situated; et al.
16
                          Plaintiffs,                           NOTICE OF SERVICE
17    and
18
      United States of America
19
                          Plaintiff-Intervenor,
20

21           v.
22    Paul Penzone, in his official capacity as
23    Sheriff of Maricopa County, AZ; et al.

24                         Defendants.
25
            I certify that copies of the Court’s August 24, 2022, Order (Doc. 2806) in the above-
26
     captioned case were served on the Arizona Attorney General, the Speaker of the Arizona House
27

28


                                                  NOTICE OF SERVICE
            Case 2:07-cv-02513-GMS Document 2809 Filed 08/25/22 Page 2 of 2



 1   of Representatives, and the President of the Arizona Senate by email on August 24, 2022, and
 2   by mail on August 25, 2022, as follows:
 3
           Honorable Russell Bowers
 4
           Speaker of the House
 5         Arizona House of Representatives
           1700 West Washington
 6         Phoenix, AZ 85007 - 2890
 7         Email: rbowers@azleg.gov

 8         Honorable Karen Fann
           Senate President
 9
           Arizona State Senate
10         1700 West Washington
           Phoenix, AZ 85007 - 2890
11         Email: kfann@azleg.gov
12
           Honorable Mark Brnovich
13         Attorney General of Arizona
           Office of the Arizona Attorney General
14
           c/o Appeals & Constitutional Litigation Division
15         2005 North Central Avenue
           Phoenix, AZ 85004
16         Email: acl@azag.gov
17         Respectfully submitted this 25th day of August, 2022.
18
                                                    /s/ Nancy Glass
19                                                  Nancy Glass (DC Bar No. 995831)
                                                    Trial Attorney
20
                                                    U.S. Department of Justice
21                                                  Civil Rights Division
                                                    Special Litigation Section
22                                                  Telephone: (202) 598-0139
23                                                  nancy.glass@usdoj.gov

24                                                  ATTORNEY FOR THE UNITED STATES
25

26

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